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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

SECURITIES AND EXCHANGE                       No: 3:18-cv-252
COMMISSION,
                                              Carlton W. Reeves, District Judge
           Plaintiffs,                        F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

           Defendants.




                         RECEIVER’S FEE APPLICATION
     for the time period beginning December 1, 2019 and ending January 31, 2020

                                February 28, 2020




                                              /s/ Alysson Mills
                                      Alysson Mills, Miss. Bar No. 102861
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                                      New Orleans, Louisiana 70170
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                                      Receiver for Arthur Lamar Adams and
                                      Madison Timber Properties, LLC
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Introduction

           For many years Arthur Lamar Adams, through his companies Madison Timber Company,
LLC and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
31, 2018, he was sentenced to 19.5 years in prison.

           On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties and provides that I shall
receive reasonable compensation and reimbursement from the Receivership Estate.1 The Court has
instructed me to file a fee application “[w]ithin 30 days after the end of every 60-day period while
the Receivership is in effect.”2

           This is my fee application for the approximately 60-day period beginning December 1,
2019 and ending January 31, 2020. It contains the following parts:

                                                                                  page
                            Receivership fee applications, generally                3
                            Pre-established billing parameters                      4
                            Receivership Estate’s fees and expenses                 5
                            Conclusion                                              8
                            Receiver’s declaration                                  9


           The Securities and Exchange Commission has reviewed and approved this fee application.




1
    Doc. 33, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
2
    Doc. 43 at p. 2, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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Receivership fee applications, generally

         A receiver’s duties “are unique to the facts and circumstances of each case.”3 It follows
that a receiver’s fees and expenses vary with the facts and circumstances of each case. The
appointing court has broad discretion to determine the reasonableness of a receiver’s fees and
expenses.4

         As before, in the course of preparing this fee application, I reviewed fee applications
submitted by receivers in other Ponzi scheme cases, including Securities and Exchange
Commission v. Stanford International Bank, Ltd., et al., No. 09-cv-0298 (N.D. Tex.) (“Stanford”);
U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D. Minn.)
(“Cook/Kiley”); and Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-
46 (D. Utah) (“Clark”).

         Fee applications vary in format but provide the same basic content: a summary of work to-
date, a statement of hours expended by professionals, a calculation of professional fees based on
applicable hourly rates, a statement of expenses incurred in the ordinary course of business, and a
declaration that all fees and expenses are accurate and reasonable. I provide the same basic content
here.

         Although fee applications are filed in the court’s public record, the underlying records of
each professional’s time typically are not. This is because such records necessarily include
confidential information (such as victims’ names) and information subject to attorney-client or
other privileges. To publish such information in the court’s public record also would risk disclosing
the receiver’s legal strategies to defendants. For these reasons, I provide underlying records of
each professional’s time only to the Court.

         This fee application is for the approximately 60-day period beginning December 1, 2019
and ending January 31, 2020. As before, I offer the following context:




3
 7 Bus. & Com. Litig. Fed. Cts. § 79:48 (4th ed.).
4
 “It is well settled that such allowances are largely within the discretion of the district court . . . .” Commodity Credit
Corp. v. Bell, 107 F.2d 1001, 1001 (5th Cir. 1939).


                                                                                                                         3
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        The Stanford receiver’s tenth fee application, filed in 2011, asked for a total of
$1,818,428.77 in fees for two months’ work. That fee application was granted with a 20%
holdback.5 Of course, at $7.2 billion, the Stanford Ponzi scheme was considerably bigger than the
Ponzi scheme in this case.

        The Cook/Kiley Ponzi scheme, at $190 million, is closer in size. The Cook/Kiley receiver’s
nineteenth and twentieth monthly fee applications, for April and May 2011, together asked for
$416,549.82 in fees for two months’ work. Those fee applications were paid in full.6

        The Clark Ponzi scheme, at $47 million, was considerably smaller than the Ponzi scheme
in this case. The Clark receiver’s tenth fee application, filed in 2013, asked for a total of
$150,120.50 in fees for three months’ work. That fee application was paid in full.7


Pre-established billing parameters

        The Court’s order of appointment provides that I shall bill at $275 an hour, and that my
counsel shall bill at rates not to exceed $275 an hour, with the exception of Brent Barriere, who
shall bill at $325 an hour.8

        The Court’s order of appointment authorizes me to incur expenses and make payments as
in the ordinary course of business of the Receivership Estate9 and, separately, to employ persons
to assist me in carrying out my duties as Receiver.10




5
  Doc. 1302, Securities and Exchange Commission v. Stanford International Bank, Ltd., et al., No. 3:09-cv-0298
(N.D. Tex.). The Court modified its fee application guidance so that the 20% holdback previously imposed by the
court no longer applied to “out-of-pocket expenses incurred by the Receiver and his professional team.”
6
  Docs. 811 and 838, U.S. Commodity Futures Trading Commission v. Trevor Cook, et al., No. 09-cv-3332 (D.
Minn.).
7
  Doc. 438, Securities and Exchange Commission v. John Scott Clark et al., No. 1:11-cv-46 (D. Utah).
8
  Doc. 33 at p. 4, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
9
  Doc. 33 at p. 7–8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
10
   Doc. 33 at p. 8, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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        Any compensation or reimbursement “will be interim and will be subject to cost-benefit
and final reviews at the close of the receivership.”11 Any fee application may, in the Court’s
discretion, be subject to a holdback in the amount of 25%.12


Receivership Estate’s fees and expenses

        Fees

        The Receivership Estate’s fees, including Receiver’s fees and Receiver’s counsel’s fees,
for the approximately 60-day period beginning December 1, 2019 and ending January 31, 2020
are:

                                                            Rate       Hours                 Total
       Receiver’s fees
       Alysson Mills                                       $275        58.60           $16,115.00

       Receiver’s counsel’s fees
       Fishman Haygood, LLP                               *$325        33.10           $10,757.50
       Brent Barriere* et al.                              $275         2.30              $632.50
                                                           $220        36.80            $8,096.00
                                                           $150         3.80              $570.00

       Brown Bass & Jeter, PLLC                            $275        43.00           $11,825.00
       Lilli Bass et al.                                   $135         0.80             $108.00
                                                                                       $48,104.00


        These fees are for work described in my Receiver’s Reports filed on December 31, 2019
and February 28, 2020.13 In addition to litigating the lawsuits styled Alysson Mills v. Butler Snow,
et al., No. 3:18-cv-866; Alysson Mills v. BankPlus, et al., No. 3:19-cv-196; Alysson Mills v. The
UPS Store, Inc., et al., No. 3:19-cv-364; and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941
(see “Contingency fee cases—hours not billed,” below), my colleagues and I continued to


11
   Doc. 33 at p. 14, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
12
   Doc. 33 at p. 14–15, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).
13
   Docs. 195 and 197, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


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administer business of the Receivership Estate. During the approximately 60-day period beginning
December 1, 2019 and ending January 31, 2020, my colleagues and I: began marketing the
2,300+/- acres of undeveloped land in Lafayette County, Mississippi owned by Oxford Springs,
LLC; monitored Bill McHenry’s bankruptcy proceedings and participated as necessary to protect
the Receivership Estate’s interest; filed an adversary complaint in Jon Seawright’s bankruptcy
proceedings that objects to the discharge of his debt to the Receivership Estate on the basis that
the debt flows from his false pretenses, false representations, and fraud, see Alysson Mills v. Jon
Darrell Seawright, No. 20-br-00011; continued to account for “commissions” and gifts paid by
Adams, Madison Timber, or Wayne Kelly to individuals in exchange for their assistance in
recruiting new investors to the Madison Timber Ponzi scheme; continued to review records of
banks, law firms, and other third parties that had professional relationships with Adams or Madison
Timber; continued to confer with federal and state authorities; continued to communicate with
investors in Madison Timber via phone, letter, email, and in-person meetings; continued to
interview individuals with first-hand knowledge of matters bearing on the Receivership Estate;
continued to meet with counsel for third parties that had professional relationships with Adams or
Madison Timber; and continued to research legal claims against third parties as new facts are
discovered. Time records for the approximately 60-day period beginning December 1, 2019 and
ending January 31, 2020 shall be separately provided to the Court for in camera review.

        Of the hours recorded above, 19 hours, or $4,809.50, were spent on the lawsuit Alysson
Mills v. Michael D. Billings, et al., No. 3:18-cv-679. Including hours previously recorded, my
colleagues and I have spent a total of 624.1 hours on the lawsuit since it was filed, at a total expense
of $159,628.50. This time and expense have proved a good investment, given that we obtained
settlements from Wayne Kelly and Mike Billings worth approximately $2,000,000 and $800,000,
respectively, and obtained a judgment against Bill McHenry for $3,473,320.

        My colleagues and I are sensitive to the Receivership Estate’s limited resources and we
hope our fees reflect that. We have not charged for work that we believe was duplicative. We have
not charged for travel. Our agreed-upon rates generally are lower than market rates.




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          Expenses

          The Receivership Estate’s expenses for the approximately 60-day period beginning
December 1, 2019 and ending January 31, 2020 are:

                         Copier charges                                 $0.00
                         Printer charges                              $351.30
                         Express mail and postage                     $205.79
                         Long distance calls                          $204.33
                         Westlaw research                             $810.51
                         Service of process                           $257.70
                         Filing fees                                  $400.00
                                                                    $2,025.30


          Most of these expenses are self-explanatory and are the kinds of expenses typically
incurred in any legal matter. As always, I have not charged for long distance calls or travel.


          Contingency fee cases—hours not billed

          In addition to the hours reported above, my counsel and I have recorded a total of 1,294.50
hours on the lawsuits Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866; Alysson Mills v.
BankPlus, et al., No. 3:19-cv-196 (S.D. Miss); Alysson Mills v. The UPS Store, Inc., et al., No.
3:19-cv-364 (S.D. Miss); and Alysson Mills v. Trustmark, et al., No. 3:19-cv-941 (S.D. Miss.). I
have not billed the Receivership Estate for this time. I believe billing the Receivership Estate for
the time spent on these and possibly other lawsuits will deplete the Receivership Estate’s limited
resources. Vigorous litigation against well-resourced defendants makes lawsuits such as these
costly.

          In the interest of conserving the Receivership Estate’s limited resources, my primary
counsel, Brent Barriere and Fishman Haygood, LLP, have agreed to represent the Receivership
Estate in these lawsuits on a contingency fee, or success-based, arrangement. Fishman Haygood,
LLP shall advance all costs and out-of-pocket expenses and bear the entire risk of any losses. This




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arrangement is consistent with the Court’s order of appointment14 and separate order regarding fee
arrangement.15

        Of course any fee arrangement is subject to the continuing oversight of the Court—and any
fees paid by the Receivership Estate, whether on an hourly basis or as a contingency fee, are subject
to the Court’s review and approval at an appropriate time. No contingency fee will be paid without
proper notice and application.


Conclusion

        Currently the Receivership Estate has $6,675,469.48 in the bank—still a healthy sum at
this point but far from enough to make a meaningful distribution.

        As I have stated, the Receivership Estate’s most valuable assets are the lawsuits it has filed
and intends to file. I anticipate that the next few months will require substantial work by counsel,
and possibly experts, as we litigate against third parties. As always I will monitor all work for
inefficiencies and unnecessary expense.

        In the meantime, I continue to believe our team is providing very good value for cost—
particularly when viewed in the context of other receiverships, which at this point cost many
multiples more per day.




14
   Doc. 43 at p. 10, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss) (the
Receiver shall make “a recommendation as to whether litigation against third parties should be commenced on a
contingent fee basis to”).
15
   Doc. 189, Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-00252 (S.D. Miss).


                                                                                                                8
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